Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 1 of 7 PageID #:
                                   1575
Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 2 of 7 PageID #:
                                   1576
Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 3 of 7 PageID #:
                                   1577
Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 4 of 7 PageID #:
                                   1578
Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 5 of 7 PageID #:
                                   1579
Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 6 of 7 PageID #:
                                   1580
Case 1:25-cv-00128-JJM-AEM   Document 67   Filed 06/05/25   Page 7 of 7 PageID #:
                                   1581
